Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 1 of 29 PageID 54057




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


   In Re:                            Case No. 3:15-md-2626-HES-JRK

   DISPOSABLE CONTACT LENS           Judge Harvey E. Schlesinger
   ANTITRUST LITIGATION              Magistrate Judge James R. Klindt

   THIS DOCUMENT RELATES TO:
   All Class Actions



    LEAD COUNSEL’S APPLICATION FOR AN AWARD OF ATTORNEYS’ FEES AND
                      REIMBURSEMENT OF EXPENSES
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 2 of 29 PageID 54058




                                                         TABLE OF CONTENTS



   I.      PRELIMINARY STATEMENT ............................................................................................. 1
   II. STATEMENT OF FACTS ...................................................................................................... 2
        A. Lead Counsel’s Initial Investigation .................................................................................... 2
        B. Procedural History ............................................................................................................... 3
        C. The Settlements .................................................................................................................... 7
   III.         ARGUMENT ..................................................................................................................... 10
        A. Lead Counsel’s Request for 33.3% of the ABB Net Settlement Funds Is Fair and
           Reasonable ......................................................................................................................... 10
           1.        The Law Awards Lead Counsel Fees from the Common Fund ..................................... 10
           2.        Application of the Camden I Factors Supports the Requested Fee ................................ 13
                a)     Litigating This Complex and Novel Case Required Substantial Time and Labor ..... 14
                b) Lead Counsel Achieved a Successful Result Considering the Litigation Risks......... 16
                c)     Lead Counsel Assumed Considerable Risk to Pursue This Action on a Pure
                       Contingency Basis ...................................................................................................... 16
                d) The Requested Fee Comports with Fees Awarded in Similar Cases ......................... 17
                e)     The Remaining Camden I Factors Also Favor Approving the Requested Fee .......... 19
           3.        The Expense Request Is Appropriate ............................................................................. 19
   IV.          FAIRNESS HEARING ...................................................................................................... 20
   V. CONCLUSION ..................................................................................................................... 21




                                                                           i
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 3 of 29 PageID 54059




                                                  TABLE OF AUTHORITIES

                                                                                                                                 Page(s)

   Cases

   Allapattah Servs., Inc. v. Exxon Corp.,
       454 F. Supp. 2d 1185 (S.D. Fla. 2006) ....................................................................................18

   Behrens v. Wometco Enters., Inc.,
      118 F.R.D. 534 (S.D. Fla. 1988), aff’d, 899 F.2d 21 (11th Cir. 1990) ........................16, 17, 20

   Boeing Co. v. Van Gemert,
      444 U.S. 472 (1980) ...........................................................................................................10, 11

   Camden I Condo. Ass’n v. Dunkle,
     946 F.2d 768 (11th Cir. 1991) ......................................................................................... passim

   Columbus Drywall & Insulation, Inc. v. Masco Corp.,
      No. 1:04-cv-3066, 2008 WL 11234103 (N.D. Ga. Mar. 4, 2008) ...........................................20

   Deposit Guar. Nat’l Bank v. Rope,
      445 U.S. 326 (1980) .................................................................................................................11

   Francisco v. Numismatic Guar. Corp. of Am.,
      2008 WL 649124 (S.D. Fla. 2008) ..........................................................................................18

   George v. Acad. Mortg. Corp. (UT),
      369 F. Supp. 3d 1356 (N.D. Ga. 2019) ....................................................................................18

   In re Checking Account Overdraft Litig.,
       2020 WL 4586398 (S.D. Fla. Aug. 10, 2020)..........................................................................18

   In re Checking Account Overdraft Litig.,
       830 F. Supp. 2d 1330 (S.D. Fla. 2011) ........................................................................12, 15, 19

   In re Continental Ill. Sec. Litig.,
       962 F.2d 566 (7th Cir. 1992) .............................................................................................17, 18

   In Re: Disposable Contact Lens Antitrust Litigation,
       No. 3:15-md-02626-J-HES-JRK................................................................................................3

   In re Friedman’s, Inc. Sec. Litig.,
       2009 WL 1456698 (N.D. Ga. May 22, 2009) ..........................................................................18

   In re Gould Secs. Litig.,
       727 F. Supp. 1201 (N.D. Ill. 1989) ..........................................................................................11



                                                                       ii
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 4 of 29 PageID 54060




   In re Ikon Office Sols., Inc. Secs. Litig.,
       194 F.R.D. 166 (E.D. Pa. 2000) ...............................................................................................20

   In re Public Serv. Co. of N.M.,
       1992 WL 278452 (S.D. Cal. July 28, 1992) ............................................................................18

   In re Sunbeam Secs. Litig.,
       176 F. Supp. 2d 1323 .............................................................................................11, 12, 14, 16

   Johnson v. Georgia Highway Express, Inc.,
      488 F.2d 714 (5th Cir. 1974) ...................................................................................................14

   Mashburn v. Nat’l Healthcare, Inc.,
     684 F. Supp. 660 (M.D. Ala. 1988) ...................................................................................11, 12

   Mills v. Electric Auto-Lite Co.,
      396 U.S. 375 (1970) ...........................................................................................................19, 20

   Morgan v. Pub. Storage,
     301 F. Supp. 3d 1237 (S.D. Fla. 2016) ....................................................................................17

   Muehler v. Land O’Lakes, Inc.,
     617 F. Supp. 1370 (D. Minn. 1985) .........................................................................................11

   Ontiveros v. Zamora,
      303 F.R.D. 356 (E.D. Cal. 2014) .............................................................................................20

   Pierre-Val v. Buccaneers Ltd. P’ship,
      2015 WL 12843849 (M.D. Fla. Dec. 7, 2015) (32%)..............................................................18

   Pinto v. Princess Cruise Lines, Ltd.,
      513 F. Supp. 2d 1334 (S.D. Fla. 2007) (30%) .........................................................................18

   Ressler v. Jacobson,
      149 F.R.D. 561 (M.D. Fla. 1992).............................................................................................15

   Ressler v. Jacobson,
      149 F.R.D. 651 (M.D. Fla. 1992) (30%)......................................................................17, 18, 20

   Sands Point Partners, LP v. Pediatrix Med. Group, Inc.,
      2002 U.S. Dist. LEXIS 25721 (S.D. Fla. 2002) (30%) ...........................................................18

   Swift v. BancorpSouth Bank,
      No. 1:10-cv-00090, 2016 WL 11529613 (N.D. Fla. July 15, 2016) ........................................20

   Walco Investments, Inc. v. Thenen,
      975 F. Supp. 1468 (S.D. Fla.1997) ....................................................................................14, 15



                                                                     iii
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 5 of 29 PageID 54061




   Waters v. Int’l Precious Metals Corp.,
      190 F.3d 1291 (11th Cir. 1999) .........................................................................................12, 17

   Wolff v. Cash 4 Titles,
      No. 03-2278-CIV, 2012 WL 5290155 (S.D. Fla. Sept. 26, 2012) ...........................................12

   Statutes, Rules, and Regulations

   15 U.S.C.
      §1............................................................................................................................................3, 4
      §3................................................................................................................................................4

   Federal Rules of Civil Procedure
      Rule 23(f) ...................................................................................................................................5

   Other Authorities

   4 NEWBERG ON CLASS ACTIONS, §14:6 (4th ed. 2002) ..................................................................18

   Theodore Eisenberg, et al., Attorneys’ Fees in Class Actions: 2009-2013, 92
      N.Y.U. L. REV. 937 (2017) ......................................................................................................12




                                                                            iv
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 6 of 29 PageID 54062




          For the reasons set forth below, Lead Counsel request that the Court enter an order:

   (1) promptly setting a date and time for the Fairness Hearing regarding this Motion and the

   concurrently filed Motion for Final Approval of Settlement Agreement with Defendant ABB

   Optical Group LLC (“Motion for Final Approval”); and (2) awarding Lead Counsel the requested

   $9,315,960.97 in attorneys’ fees and $752,117.10 in newly incurred expenses.1

   I.     PRELIMINARY STATEMENT

          Over the course of nearly six years of hard-fought litigation that has progressed through

   motions to dismiss, sharply contested discovery, class certification, several motions for

   interlocutory appeal, and multiple motions for summary judgment, Lead Counsel have reached

   settlements with three of the original five defendants totaling $43,200,000.2 They have not until

   now, however, requested any award of attorneys’ fees for the work they performed litigating the

   case. Lead Counsel therefore respectfully request that the Court award attorneys’ fees equal to

   one-third (33.3%) of the $30,200,000 ABB Settlement Fund ($9,315,960.97), after payment of

   the Court-approved notice costs ($500,000), anticipated claims administration costs ($1,000,000),3


   1
          Lead Counsel will submit a Proposed Order with their reply brief on April 9, 2021, once
   the opt-out and objection deadline has passed and Lead Counsel have had an opportunity to
   consider and respond to any objections, should they arise.
   2
          On March 4, 2020, the Court granted final approval to settlements of $10,000,000 and
   $3,000,000 with Bausch & Lomb Incorporated (“B&L” and “B&L Settlement Fund”) and
   CooperVision, Inc. (“CVI” and “CVI Settlement Fund”), respectively. ECF No. 1164. A motion
   for Final Approval of the ABB Optical Group LLC (“ABB”) Settlement of $30,200,000 (“ABB
   Settlement Fund”) was submitted concurrently with this motion. Each settlement is held in a
   separate fund. Together, they will be referred to herein as the “Settlement Funds.”
   3
          As noted in the motions to approve the B&L and CVI Settlements (ECF Nos. 1011, 1037,
   1145), payment of additional notice and claims administration costs will be necessary. Lead
   Counsel calculated the $1,000,000 figure based on estimates provided by the Court-approved
   claims administrator and their decades of experience with class action settlements. All claims
   administration costs will be subject to court approval and any amount under the estimate will
   remain in the Settlement Fund for distribution to Class Members. Lead Counsel presently



                                                   1
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 7 of 29 PageID 54063




   and expenses ($752,117.10) also requested in this Motion.4 The requested award of attorneys’

   fees and expense is well within the range approved by courts in this District and Circuit. Counsel

   for ABB take no position on Lead Counsel’s application for fees and costs. Declaration of Joseph

   P. Guglielmo, Christopher Lebsock, and Eamon O’Kelly, filed herewith (“Jt. Decl.”), ¶70.

          In addition, because the Court has not yet set a date for the Fairness Hearing, Lead Counsel

   respectfully requests that the Court do so.5

   II.    STATEMENT OF FACTS

          A.      Lead Counsel’s Initial Investigation

          Lead Counsel devoted substantial time to investigating the potential claims against

   Defendants before filing Plaintiffs’ complaints. Lead Counsel interviewed customers and potential

   plaintiffs to gather information about Defendants’ conduct and the impact on customers. Id., ¶¶6-

   8. This information was essential to Lead Counsel’s ability to understand the nature of Defendants’

   conduct, the nature of the UPPs, and potential remedies. Lead Counsel consulted with experts to

   develop and refine their legal and damages theories and amassed evidence from various state and

   federal government hearings related to disposable contact lenses.



   anticipates that they will file a motion for payment of additional notice and claims costs when they
   file their motion to distribute the settlement funds. Application for additional notice and claims
   administration costs after payment of fees and expenses is routine in cases such as this. See, e.g.,
   In re Foreign Exchange Benchmark Rates Antitrust Litig., Case No. 1:13-cv-07789-LGS
   (S.D.N.Y.) (ECF Nos. 1178, 1181).
   4
           Lead counsel’s fee request of $9,315,960.97 is equal to one-third of the ABB Settlement
   Amount ($30,200,000), less the expenses requested in this motion of $752,117.10 and the
   anticipated notice and administration costs of $1,500,000 ($500,000 previously approved by the
   Court, and $1,000,000 for anticipated future notice and claims administration expenses). The fees
   and expenses requested in this motion equal 33.34% to the ABB Settlement Amount. Inclusive of
   the anticipated notice and claims costs, the total is 36.65% of the ABB Settlement Amount.
   5
          Lead Counsel will submit a Proposed Order with their reply brief on April 9, 2021, once
   the opt-out and objection deadline has passed and Lead Counsel have had an opportunity to
   consider and respond to any objections, should they arise.

                                                    2
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 8 of 29 PageID 54064




          B.      Procedural History

          This case has presented a complex set of legal questions and novel defenses throughout.

   For nearly six years, Lead Counsel have successfully advanced Plaintiffs’ antirust claims against

   five sophisticated multinational defendants, represented by counsel from some of the largest law

   firms in the world. After thousands of pages of motion practice, millions of pages of documents

   exchanged and reviewed in discovery, and hours of depositions and hearings, Lead Counsel have

   negotiated and obtained class settlements totaling $43,200,000 and prepared the case for trial.

   Below, Lead Counsel detail their efforts to achieve these results.

          This litigation began on March 3, 2015, when Plaintiff John Machikawa, among others,

   filed the first complaint against the four dominant manufacturers of disposable contact lenses,

   B&L, Johnson & Johnson Vision Care, Inc. (“JJVC”), Alcon Laboratories, Inc. (“Alcon”), CVI,

   and their primary distributor, ABB (collectively, “Defendants”), in the U.S. District Court for the

   Northern District of California (“Machikawa”). The complaints alleged that the Defendants’ so-

   called “Unilateral Pricing Policies” (“UPPs”) were illegal restraints on competition under Section

   One of the Sherman Act, 15 U.S.C. §1, and various state unfair competition laws and sought, inter

   alia, monetary damages, interest, attorneys’ fees, restitution, and equitable relief. Jt. Decl., ¶9.

          On June 10, 2015, the Judicial Panel on Multidistrict Litigation consolidated and

   centralized Machikawa, along with other lawsuits alleging similar wrongdoing, in this Court. Id.

   The cases were re-captioned In Re: Disposable Contact Lens Antitrust Litigation, No. 3:15-md-

   02626-J-HES-JRK.

          On October 7, 2015, the Court granted Lead Counsel’s motion appointing Hausfeld LLP

   (“Hausfeld”), Scott+Scott Attorneys at Law LLP (“Scott+Scott”), and Robins Kaplan LLP

   (“Robins Kaplan”) as interim co-lead counsel. ECF No. 116. On November 23, 2015, Lead

   Counsel, on behalf of Plaintiffs, filed the Consolidated Class Action Complaint (“Consolidated
                                                     3
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 9 of 29 PageID 54065




   Complaint”), asserting six causes of action: (1) Violation of 15 U.S.C. §§1 and 3 (Per Se Violation

   of the Sherman Act); (2) Violation of 15 U.S.C. §§1 and 3 (Rule of Reason Violations of the

   Sherman Act); (3) Violation of the California Cartwright Act; (4) Violation of the Maryland

   Antitrust Act; (5) Violation of the California Unfair Competition Law; and (6) Violation of the

   Maryland Consumer Protection Act. ECF No. 133.

          On December 23, 2015, Defendants filed their Motion to Dismiss the Consolidated

   Complaint. ECF No. 146. Following briefing and oral argument, the Court denied Defendants’

   motion. ECF Nos. 185, 190. Discovery commenced on April 1, 2016. ECF No. 204. On July

   27, 2016, Defendants filed their Answers and Affirmative Defenses. ECF Nos. 266-70.

          The Parties engaged in significant motion practice and extensive formal discovery,

   including approximately 79 depositions of Plaintiffs, Defendants’ employees, experts, and third

   parties, and the production of more than 4.3 million pages of documents and voluminous

   electronically stored information by Defendants and third parties. Jt. Decl., ¶¶20-22.

          On March 1, 2017, Plaintiffs filed the operative complaint in this matter. ECF No. 395.

   On March 3, 2017, Plaintiffs filed a Motion for Class Certification with accompanying expert

   reports. ECF Nos. 396-98. On June 15, 2017, Defendants filed their Motion to Strike certain

   portions of Plaintiffs’ Expert Reports and their Memorandum of Law in Opposition to Plaintiffs’

   Motion for Class Certification, accompanying expert reports, and other declarations. ECF Nos.

   500-10, 693. Plaintiffs filed their Reply in support of their Motion for Class Certification on

   September 8, 2017, as well as their oppositions to Defendants’ Motion to Strike portions of

   Plaintiffs’ Expert Reports. ECF Nos. 611-18, 715. On October 20, 2017, Defendants filed their

   Sur-Reply Memorandum of Law in Further Opposition to Plaintiffs’ Motion for Class

   Certification. ECF Nos. 674-78. On August 1 and 2, 2018, the Court held a hearing on Plaintiffs’



                                                   4
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 10 of 29 PageID 54066




   Class Certification motion, which involved examination and cross-examination of Plaintiffs’ and

   Defendants’ experts, presentation of more than 50 exhibits; the hearing spanned more than ten

   hours. ECF Nos. 865-1, 865-2, 866.

            On December 4, 2018, the Court granted Plaintiffs’ Motion for Class Certification (“Class

   Certification Order”) and certified four litigation Classes, including the following Horizontal

   Class:

            All persons and entities residing in the United States who made retail purchases of
            disposable contact lenses manufactured by Alcon, JJVC, or B&L for their own use
            and not for resale, where the prices for such contact lenses were subject to a
            “Unilateral Pricing Policy” and the purchase occurred during the period when the
            Unilateral Pricing Policy was in effect. Excluded from the Class are any purchases
            from 1-800[-]Contacts of disposable contact lenses subject to B&L’s Unilateral
            Pricing Policy, where the purchase occurred on or after July 1, 2015. Also excluded
            from the Class are Defendants, their parent companies, subsidiaries and affiliates,
            any coconspirators, all governmental entities, and any judges or justices assigned
            to hear any aspect of this action.

   ECF No. 940 at 162. The Court appointed Hausfeld, Scott+Scott, and Robins Kaplan as counsel

   for the certified Classes and appointed the Plaintiffs as class representatives.

            On December 18, 2018, Defendants filed petitions to appeal the Class Certification Order,

   pursuant to Rule 23(f) of the Federal Rules of Civil Procedure. The Parties briefed Defendants’

   petitions. On April 5, 2019, the Eleventh Circuit denied Defendants ABB’s and JJVC’s petition

   to appeal the Class Certification Order, and on June 20, 2019, denied Alcon and B&L’s virtually

   identical petition. Jt. Decl., ¶¶31-32.

            On August 20, 2018, Defendants filed four motions for summary judgment regarding all

   of Plaintiffs’ claims. ECF Nos. 872-74, 877. Briefing on the motions was completed on

   December 17, 2018 (ECF No. 942), and a two-day hearing was held on August 21 and 22, 2019.

   ECF Nos. 1015, 1017. On November 27, 2019, the Court denied Defendants’ Motions for

   Summary Judgement, concluding as follows:


                                                     5
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 11 of 29 PageID 54067




           The Court finds Plaintiffs have produced satisfactory evidence supporting their
           position that Defendants had a conscious commitment to a common scheme
           designed to achieve an unlawful objective. There is evidence that the UPPs were
           instituted pursuant to coordinated pressure exerted by certain ECPs and ABB, the
           manufacturers sought agreement regarding the UPPs and the Defendants jointly
           policed the pricing policies. Plaintiffs have also proffered ample evidence of
           potential or actual anticompetitive market effects, demonstrated the alleged
           conspiracy was economically reasonable and substantiated their allegation that the
           UPPs imposed an unreasonable restraint on competition with no pro-competitive
           benefit.

                                                         ***

           Finally, the Court finds that Plaintiffs have done more than show conduct that is as
           consistent with lawful competition as it is with an illicit conspiracy; weighing the
           competing inferences, it is reasonable for a jury to find Defendants were engaged
           in an illicit price fixing.

   ECF No. 1091 at 23.

           For the next few months, the Parties worked to prepare their respective cases for trial,

   which was then schedule for February of 2020. Jt. Decl., ¶41. This included drafting, exchanging,

   and meeting and conferring regarding proposed jury instructions, witnesses, deposition

   designations, and exhibit lists. Id. The Parties also filed competing motions in limine (ECF Nos.

   1055, 1056, 1058-61, 1064, 1092, 1103, 1160), which this Court ultimately ruled on, granting

   some in favor of Defendants and some in favor of Plaintiffs. ECF Nos. 1142, 1150, 1174.

           At a January 8, 2020 hearing, the Court set a trial date of June 22, 2020 and a final pre-trial

   hearing for May 13, 2020. ECF No. 1131. On March 30, 2020, Plaintiffs and Defendants filed a

   Joint Notice in which they requested the Court’s guidance on pre-trial and trial scheduling issues

   regarding the impact of the COVID-19 pandemic. ECF No. 1178. On April 3, 2020, the Court

   issued its Order in response, delaying the start of trial indefinitely on account of the many

   difficulties and dangers of attempting to hold a trial during the pandemic. ECF No. 1180. The

   Court also urged the parties to use this time to discuss and seriously consider a potential resolution

   of the litigation. Id.
                                                     6
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 12 of 29 PageID 54068




          Defendants have repeatedly denied all of Plaintiffs’ allegations of wrongdoing. They have

   consistently defended their conduct by arguing, inter alia, that the UPPs were lawful and that they

   never entered into an agreement with anyone to adopt, implement, or enforce the UPPs.

   Defendants have advanced additional defenses.

          C.      The Settlements

          On August 30, 2017, Plaintiffs reached an “ice-breaker” settlement with Defendant CVI.

   Joint Decl., ¶48. The settlement included a monetary payment of $3,000,000 and was reached on

   behalf of the following settlement class:

         All persons and entities residing in the United States who made retail purchases of
         disposable contact lenses manufactured by Alcon Laboratories, Inc., Johnson &
         Johnson Vision Care, Inc., Bausch & Lomb, Inc., or CVI (or distributed by ABB
         Concise Optical Group) during the Settlement Class Period for their own use and
         not for resale, which were sold at any time subject to a Unilateral Pricing Policy.
         Excluded from the Settlement Class are Defendants, their parent companies,
         subsidiaries and affiliates, any coconspirators, all governmental entities, and any
         judges or justices assigned to hear any aspect of this action.

   ECF No. 781-1, ¶1.37 (the “CVI Settlement Class”). On July 10, 2018, the Court preliminarily

   approved the settlement with CVI, but delayed dissemination of notice. ECF No. 841.

          On August 19, 2019, Plaintiffs reached a settlement agreement with Defendant B&L. Jt.

   Decl., ¶50. The settlement included a monetary payment of $10,000,000 and was reached on

   behalf of the following settlement class:

          [A]ll persons and entities residing in the United States who made retail purchases
          of disposable contact lenses manufactured by Alcon Laboratories, Inc., Johnson &
          Johnson Vision Care, Inc., or B&L during the Settlement Class Period for their own
          use and not for resale, where the prices for such contact lenses were subject to a
          Unilateral Pricing Policy and the purchase occurred during the period when the
          Unilateral Pricing Policy was in effect. Excluded from the Settlement Class are
          any purchases from 1-800-Contacts of disposable contact lenses subject to B&L’s
          Unilateral Pricing Policy, where the purchase occurred on or after July 1, 2015.
          Also excluded from the Settlement Class are Defendants, their parent companies,
          subsidiaries and affiliates, any coconspirators, all governmental entities, and any
          judges or justices assigned to hear any aspect of this action.


                                                   7
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 13 of 29 PageID 54069




   ECF No. 781-1, ¶1.37 (the “B&L Settlement Class”). On October 8, 2019, the Court granted

   preliminary approval of the B&L settlement and approved a plan to disseminate notice to members

   of the litigation classes, the CVI Settlement Class, and the B&L Settlement Class. ECF No. 1046.

          On January 16, 2020, Plaintiffs filed their Motion for Final Approval of Settlement

   Agreements with Defendants B&L and CV, as well as a Motion for Payment of Common Expenses

   and Class Representatives’ Service Awards. ECF Nos. 1136, 1137. On February 25, 2020, the

   Court held a Fairness Hearing regarding the settlements with B&L and CVI. See ECF No. 1154

   and February 25, 2020 Hearing Transcript. On March 4, 2020, the Court granted Plaintiffs’ Motion

   for Final Approval and issued its Final Approval Order and Final Judgment and Order of Dismissal

   with Prejudice as to B&L and CVI. ECF No. 1164. The Court also granted Plaintiffs’ Motion for

   Payment of Common Expenses and Class Representatives’ Service Awards. ECF No. 1165.

          As permitted by the Court, Lead Counsel withdrew 33.3% ($4,329,000) from the collective

   $13,000,000 in the B&L and CVI Settlement Funds to cover incurred and anticipated common

   litigation expenses. Jt. Decl., ¶56.6 These costs included $664,206.86 for some, but not all, of the

   future costs Lead Counsel anticipated they would incur to litigate the case through trial. ECF No.

   1165. Lead Counsel did not seek any award of attorneys’ fees from the settlements with B&L or

   CVI.

          On April 3, 2020, the Court issued an Order regarding the impact of COVID-19 on the case

   schedule. ECF No. 1180. In the Order’s final paragraph, the Court stated that it “sincerely urges

   the Parties to earnestly confer with each other in a deliberate attempt to reach an agreement that




   6
          $3,330,800 was paid from the B&L Settlement Fund and $999,000 was paid from the CVI
   Settlement Fund. Id.
                                                    8
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 14 of 29 PageID 54070




   completely resolves this litigation. Specifically, the Court implore[d] the remaining Defendants

   to have their corporate executives seriously consider this request and the basis for it.” Id. at 5.

          Plaintiffs and ABB took the Court’s words to heart. On Sunday, August 30, 2020, they

   engaged in a day-long mediation session with former U.S. District Judge, Layn Phillips, via video

   conference. Jt. Decl., ¶64. Prior to the August 30, 2020 mediation session, the Parties engaged in

   a series of pre-mediation discussions with Judge Phillips regarding a potential settlement. Id. With

   Judge Phillips’ guidance and assistance, the Parties were able to reach an agreement to resolve the

   case against ABB. Id. ABB will pay $30,200,000 into a settlement fund in exchange for dismissal

   and release of all claims against it.7 Id. The Parties fully executed the Settlement Agreement on

   September 22, 2020. Id.

          On October 22, 2020, Plaintiffs filed their Motion for Preliminary Approval and Notice

   Plan regarding the ABB Settlement. ECF No. 1215. Because ABB was a distributor of contact

   lenses made by all of the manufacturer Defendants including Alcon, JJVC, CVI, and B&L, the

   ABB Settlement Class define the ABB Settlement Class as follows:

          [A]ll persons and entities residing in the United States who made retail purchases
          of disposable contact lenses manufactured by Alcon, JJVC, CVI, or B&L during
          the Settlement Class Period for their own use and not for resale, where the prices
          for such contact lenses were subject to a “Unilateral Pricing Policy” and the
          purchase occurred during the period when the Unilateral Pricing Policy was in
          effect. Excluded from the Settlement Class are any purchases from l-800 Contacts
          of disposable contact lenses subject to B&L’s Unilateral Pricing Policy, where the
          purchase occurred on or after July 1, 2015. Also excluded from the Settlement
          Class are Defendants, their parent companies, subsidiaries and affiliates, any
          alleged co-conspirators, all governmental entities, and any judges or justices
          assigned to hear any aspect of this action.


   7
           ABB already paid $500,000 of the Settlement Amount in cash into the Escrow Account
   controlled by the Escrow Agent for purposes of disseminating notice. ABB will pay the remainder
   of the Settlement Amount ($29,700,000) into the Escrow Account as follows: 50% of the
   remainder ($14,850,000) by April 15, 2021, and the remaining balance ($14,850,000) by
   January 14, 2022. Agreement, ¶3.1.

                                                     9
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 15 of 29 PageID 54071




   Agreement, ¶1.35. The ABB Settlement Class tracks the CVI Settlement Class for which the Court

   has already granted final approval. ECF No. 1164.

          On November 4, 2020, the Court held a hearing on the Motion for Preliminary Approval

   of the ABB Settlement. ECF No. 1219. On November 12, 2020, the Court preliminarily approved

   the ABB Settlement and approved the Notice Plan. ECF No. 1224.

          The Court-approved Notice Plan for the ABB Settlement informed potential Class

   Members that Lead Counsel would ask the Court for attorneys’ fees “up to one-third (33.3%)” of

   the Settlement Fund, “after payment of Court-approved costs and expenses.” ECF No. 1216.

   III.   ARGUMENT

          A.      Lead Counsel’s Request for 33.3% of the ABB Net Settlement Funds Is Fair
                  and Reasonable

          As stated in the ABB Settlement Agreement and Notice Plan, and consistent with standard

   class action practice and procedure, Lead Counsel respectfully request $9,315,960.97 in attorneys’

   fees, which equals one-third of the $30,200,000 Settlement Fund, after payment of the already-

   approved $500,000 in notice costs, $1,000,000 in anticipated claims administration costs, and

   $752,117.10 in expenses also requested in this Motion. Agreement, ¶9.1; ECF No. 1216; Jt. Decl.,

   ¶84.   Lead Counsel’s 33.3% fee request is appropriate, fair, and well within the range of

   reasonableness under the factors established by the Eleventh Circuit in Camden I Condo. Ass’n v.

   Dunkle, 946 F.2d 768 (11th Cir. 1991). For the reasons detailed herein, Lead Counsel’s application

   for attorneys’ fees should be approved.

                  1.     The Law Awards Lead Counsel Fees from the Common Fund

          It is well established that when a representative party has conferred a substantial benefit

   upon a class, counsel is entitled to attorneys’ fees based upon the benefit obtained. Camden I, 946

   F.2d at 771; Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980). The common benefit doctrine


                                                   10
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 16 of 29 PageID 54072




   serves the “twin goals of removing a potential financial obstacle to a plaintiff’s pursuit of a claim

   on behalf of a class and of equitably distributing the fees and costs of successful litigation among

   all who gained from the named plaintiff’s efforts.” In re Gould Secs. Litig., 727 F. Supp. 1201,

   1203 (N.D. Ill. 1989).8 The common benefit doctrine stems from the premise that those who

   receive the benefit of a lawsuit without contributing to its costs are “unjustly enriched” at the

   expense of the successful litigant. Boeing, 444 U.S. at 478. As a result, the Supreme Court, the

   Eleventh Circuit, and courts in this District have all recognized that “‘[a] litigant or a lawyer who

   recovers a common fund for the benefit of persons other than himself or his client is entitled to a

   reasonable attorney’s fee from the fund as whole.’” In re Sunbeam Secs. Litig., 176 F. Supp. 2d

   1323, 1333 (quoting Boeing, 444 U.S. at 478); see also Camden I, 946 F.2d at 771 (“Attorneys

   in a class action in which a common fund is created are entitled to compensation for their services

   from the common fund, but the amount is subject to court approval.”). Courts have also

   recognized that appropriate fee awards in cases such as this encourage redress for wrongs caused

   to entire classes of persons and deter future misconduct of a similar nature. See, e.g., Mashburn

   v. Nat’l Healthcare, Inc., 684 F. Supp. 660, 687 (M.D. Ala. 1988); see also Deposit Guar. Nat’l

   Bank v. Rope, 445 U.S. 326, 338-39 (1980). Adequate compensation promotes the availability of

   counsel for aggrieved persons:

          If the plaintiffs’ bar is not adequately compensated for its risk, responsibility,
          and effort when it is successful, then effective representation for plaintiffs in
          these cases will disappear. . . . We as members of the judiciary must be ever
          watchful to avoid being isolated from the experience of those who are actively
          engaged in the practice of law. It is difficult to evaluate the effort it takes to
          successfully and ethically prosecute a large plaintiffs’ class action suit. It is
          an experience in which few of us have participated. The dimensions of the
          undertaking are awesome.

   Muehler v. Land O’Lakes, Inc., 617 F. Supp. 1370, 1376 (D. Minn. 1985).


   8
          Unless otherwise noted, citations are omitted.
                                                    11
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 17 of 29 PageID 54073




          In the Eleventh Circuit, class counsel receives a percentage of the funds obtained through

   a settlement. In Camden I, the Eleventh Circuit held that “the percentage of the fund approach [as

   opposed to the lodestar approach] is the better reasoned in a common fund case. Henceforth in

   this [C]ircuit, attorneys’ fees awarded from a common fund shall be based upon a reasonable

   percentage of the fund established for the benefit of the class.” 946 F.2d at 774. Courts in this

   Circuit have applied the percentage of the fund approach since, holding as follows:

          The Eleventh Circuit made clear in Camden I that percentage of the fund is the
          exclusive method for awarding fees in common fund class actions. Camden I,
          946 F.2d at 774. Even before Camden I, courts in this Circuit recognized that
          “a percentage of the gross recovery is the only sensible method of awarding
          fees in common fund cases.” [Mashburn, 684 F. Supp. at 670.] More
          importantly, the Court observed first hand the monumental effort exerted by
          Class Counsel in this case, and does not need to see timesheets to know how
          much work Class Counsel have put in to reach this point.

   In re Checking Account Overdraft Litig., 830 F. Supp. 2d 1330, 1362 (S.D. Fla. 2011).

          The Court has discretion in determining an appropriate fee. “‘There is no hard and fast

   rule mandating a certain percentage of a common fund which may be awarded as a fee because the

   amount of any fee must be determined upon the facts of each case.’” Sunbeam, 176 F. Supp. 2d

   at 1333 (quoting Camden I, 946 F.2d at 774). Nonetheless, “‘[t]he majority of common fund fee

   awards fall between 20% to 30% of the fund’” – though “‘an upper limit of 50% of the fund may

   be stated as a general rule.’” Id. (quoting Camden I, 946 F.2d at 774-75); see also Waters v. Int’l

   Precious Metals Corp., 190 F.3d 1291 (11th Cir. 1999) (approving fee award where the district

   court determined that the benchmark should be 30% and then adjusted the fee award higher in

   view of the circumstances of the case); Wolff v. Cash 4 Titles, No. 03-2278-CIV, 2012 WL

   5290155, at *5-6 (S.D. Fla. Sept. 26, 2012) (“The average percentage award in the Eleventh Circuit

   mirrors that of awards nationwide – roughly one-third”); Theodore Eisenberg, et al., Attorneys’

   Fees in Class Actions: 2009-2013, 92 N.Y.U. L. REV. 937, 951 (2017) (showing, through an
                                                   12
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 18 of 29 PageID 54074




   empirical study, that the median fee award in Eleventh Circuit is 33% and the mean is 30%). Lead

   Counsel’s fee request falls within this accepted range. See, e.g., In re CNL Hotels & Resorts, Inc.

   Secs. Litig., No. 04-cv-01231 (M.D. Fla. Aug. 1, 2006) (granting 34% in fees, over $12 million,

   of a $35 million class settlement); Johns Manville v. Tennessee Valley Auth., No. 99-2294 (N.D.

   Ala. Aug. 20, 2007) (awarding 35% as fees for a $18 million class settlement); Neal v. Chase

   Manhattan Bank, U.S.A., N.A., No. 06-00049 (S.D. Ala. May 30, 2006) (awarding 37% in fees of

   $2.7 million class settlement).

                  2.      Application of the Camden I Factors Supports the Requested Fee

          In the Eleventh Circuit, courts use the below factors to determine a reasonable

   percentage to award as an attorneys’ fee to class counsel in class actions:

                        (1)     the time and labor required;

                        (2)     the novelty and difficulty of the relevant questions;

                        (3)     the skill required to properly carry out the legal services;

                        (4)     the preclusion of other employment by the attorney as a result of his
                                acceptance of the case;

                        (5)     the customary fee;

                        (6)     whether the fee is fixed or contingent;

                        (7)     time limitations imposed by the clients or the circumstances;

                        (8)     the results obtained, including the amount recovered for the clients;

                        (9)     the experience, reputation, and ability of the attorneys;

                        (10)    the “undesirability” of the case;

                        (11)    the nature and the length of the professional relationship with the
                                clients; and

                        (12)    fee awards in similar cases.




                                                     13
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 19 of 29 PageID 54075




   Camden I, 946 F.2d at 772 n.3 (citing factors originally set forth in Johnson v. Georgia Highway

   Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974)).

          These factors are guidelines; they are neither exhaustive nor mandatory in every case.

   See Sunbeam, 176 F. Supp. 2d at 1333 (quoting Camden I, 946 F.2d at 775) (“‘Other pertinent

   factors are the time required to reach a settlement, whether there are any substantial objections

   by class members or other parties to the settlement terms or the fees requested by counsel, any

   non-monetary benefits conferred upon the class by the settlement, and the economics involved

   in prosecuting a class action.’”); id. at 1333-34 (encouraging “‘the lower courts to consider

   additional factors unique to the particular case’”) (quoting Walco Investments, Inc. v.

   Thenen, 975 F. Supp. 1468, 1472 (S.D. Fla.1997)). As applied here, the Camden I factors

   demonstrate that the Court should approve the requested fee.

                          a)      Litigating This Complex and Novel Case Required Substantial
                                  Time and Labor

          Litigating and settling these claims demanded considerable time and labor, making this fee

   request reasonable. Jt. Decl., ¶¶71-75. Since the inception of this case, Lead Counsel ensured

   their efforts were efficient and coordinated to minimize duplication of effort. Id., ¶72. Lead

   Counsel’s efforts have been considerable; it is a massive undertaking to advance such a complex

   multi-defendant antitrust class action such as this to the precipice of trial. Id., ¶¶71-75.

          Consideration of the novelty and difficulty of the questions involved in the case further

   support the fee request here. Lead Counsel acquired and analyzed, along with experts, a

   substantial amount of factual and legal information. Id., ¶73. Litigation of this action required

   counsel who were highly trained in class action law and procedure, as well as the specialized

   antitrust issues, presented here. Lead Counsel possess these attributes, and their participation

   added value to the representation of the Classes. Id., ¶74. The record demonstrates that the action


                                                     14
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 20 of 29 PageID 54076




   involved a broad range of complex challenges by Defendants, which Lead Counsel met at every

   juncture. Id., ¶¶74-75. For example, Defendants have repeatedly argued to this Court, and the

   Eleventh Circuit, that Plaintiffs lack standing to bring this lawsuit because they are not direct

   purchasers under the antitrust laws (ECF Nos. 505, 674, 906-908, 912, 930, 931, 934, 935, 967,

   1015, 1016, 1023), an issue on which Lead Counsel prevailed at every turn. ECF Nos. 940, 993,

   1091. The ability and knowledge to successfully navigate the nuanced issues regarding purchaser

   standing in antitrust matters is rare, even among class action attorneys. Thankfully, Lead Counsel

   were able to draw on their decades of combined experience representing plaintiffs in large antitrust

   class actions to successfully counter Defendants’ arguments. Jt. Decl., ¶76.

          In evaluating the quality of representation by Lead Counsel, the Court should also consider

   the quality of opposing counsel. See Camden I, 946 F.2d at 772 n.3; Ressler v. Jacobson, 149

   F.R.D. 561, 654 (M.D. Fla. 1992). Litigating against capable opposing attorneys regarding an

   array of complex legal issues, Lead Counsel maintained a superlative quality of novel legal work,

   which conferred a substantial benefit on the Settlement Class. Jt. Decl., ¶¶71-77. Throughout

   the litigation, Plaintiffs, represented by Lead Counsel, have repeatedly prevailed against

   Defendants represented by experienced counsel from some of the world’s largest law firms. Id.,

   ¶77; see also Checking Account Overdraft, 830 F. Supp. 2d at 1348 (“Class Counsel confronted

   not merely a single large bank, but ‘the combined forces of a substantial portion of the entire

   American banking industry, and with them a large contingent of some of the largest and most

   sophisticated law firms in the country.’”); Walco Invs., Inc. v. Thenen, 975 F. Supp. 1468, 1472

   (S.D. Fla. 1997) (“Given the quality of defense counsel from prominent national law firms, the

   Court is not confident that attorneys of lesser aptitude could have achieved similar results.”).




                                                   15
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 21 of 29 PageID 54077




                          b)      Lead Counsel Achieved a Successful Result Considering the
                                  Litigation Risks

          Rather than face uncertainty at trial, the Settlement Class Members who file valid and

   timely claims will receive a meaningful cash benefit. Jt. Decl., ¶64. The ABB Settlement is

   particularly noteworthy given the combined litigation risks over the more than five years of

   litigation. Id., ¶¶60, 63. Defendants raised numerous defenses. Success under these circumstances

   was far from certain, and this Settlement represents a fantastic result.

          Prosecuting this action was risky from the outset. Id. If Defendants had been successful

   in even one of their potentially dispositive motions, members of the Classes would have obtained

   limited to no recovery for their losses. Given these risks, as well as the complexity of the litigation

   and the significant risks and barriers that loomed in the absence of Settlement, the $30,200,000

   cash recovery obtained through the ABB Settlement is outstanding.

          The recovery achieved by this Settlement must be measured against the fact that any

   recovery by Plaintiffs and Settlement Class Members, through continued litigation, could only

   have been achieved if Plaintiffs and the certified litigation Classes established liability and

   recovered damages at trial; and the final judgment was affirmed on appeal. The Settlement is,

   therefore, an extraordinary recovery for the Settlement Class in light of all of the risks that Lead

   Counsel faced and continue to face. Id.

                          c)      Lead Counsel Assumed Considerable Risk to Pursue This
                                  Action on a Pure Contingency Basis

          In undertaking to litigate this complex case on a contingent-fee basis, Lead Counsel

   assumed a significant risk of nonpayment or underpayment. Id., ¶78. That risk warrants approval

   of the requested fee. Indeed, “‘[a] contingency fee arrangement often justifies an increase in the

   award of attorney’s fees.’” Sunbeam, 176 F. Supp. 2d at 1335 (quoting Behrens v. Wometco

   Enters., Inc., 118 F.R.D. 534, 548 (S.D. Fla. 1988), aff’d, 899 F.2d 21 (11th Cir. 1990); see also

                                                     16
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 22 of 29 PageID 54078




   In re Continental Ill. Sec. Litig., 962 F.2d 566 (7th Cir. 1992) (holding that when a common fund

   case has been prosecuted on a contingent-fee basis, plaintiffs’ counsel must be adequately

   compensated for the risk of non-payment); Ressler, 149 F.R.D. at 656 (“Numerous cases recognize

   that the attorney’s contingent fee risk is an important factor in determining the fee award.”).

          Public policy concerns – in particular, ensuring the continued availability of experienced

   and capable counsel to represent classes of injured plaintiffs holding small individual claims –

   support the requested fee. As courts in this Circuit have held:

          Generally, the contingency retainment must be promoted to assure representation
          when a person could not otherwise afford the services of a lawyer. . . . A
          contingency fee arrangement often justifies an increase in the award of attorney’s
          fees. This rule helps assure that the contingency fee arrangement endures. If this
          “bonus” methodology did not exist, very few lawyers could take on the
          representation of a class client given the investment of substantial time, effort,
          and money, especially in light of the risks of recovering nothing.
   Behrens, 118 F.R.D. at 548.

          The progress of the action shows the inherent risk faced by Lead Counsel in accepting and

   prosecuting the action on a contingency-fee basis. Despite Lead Counsel’s tireless work in

   litigating this action for almost six years, Lead Counsel have, until now, neither requested nor

   received compensation for the considerable time they have invested in this case. Jt. Decl., ¶79.

   Under Eleventh Circuit precedent, this fact supports an award of the requested fee.

                          d)      The Requested Fee Comports with Fees Awarded in Similar
                                  Cases

          The fee sought here is within the range of fees typically awarded in similar cases.

   Numerous decisions within and outside of the Eleventh Circuit have found that a 33.3% fee is

   within the range of reasonableness under the factors listed by Camden I. See, e.g., Waters, 190

   F.3d 1291 (11th Cir. 1999) (affirming fee award of 331/3% on settlement of $40 million); Morgan




                                                    17
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 23 of 29 PageID 54079




   v. Pub. Storage, 301 F. Supp. 3d 1237, 1257-58 (S.D. Fla. 2016) (“[A] fee award of 33% . . . is

   consistent with attorneys’ fees awards in federal class actions in this Circuit . . . .”).9

           Lead Counsel’s fee request also falls within the range of what is customary in the private

   legal marketplace, where contingency fee arrangements often approach or equal 40% of any

   recovery. See Acad. Mortg. Corp., 369 F. Supp. 3d at 1382 (“Plaintiffs request for approval of

   Class Counsel’s 33% fee falls within the range of the private marketplace, where contingency-fee

   arrangements are often between 30 and 40 percent of any recovery.”); Continental, 962 F.2d at

   572 (“The object in awarding a reasonable attorneys’ fee . . . is to simulate the market.”).10 This,

   too, supports an award of the requested fee.


   9
           See also In re Checking Account Overdraft Litig., 2020 WL 4586398, at *22 (S.D. Fla.
   Aug. 10, 2020) (35%); George v. Acad. Mortg. Corp. (UT), 369 F. Supp. 3d 1356, 1375 (N.D. Ga.
   2019) (33.3%); Pierre-Val v. Buccaneers Ltd. P’ship, 2015 WL 12843849, at *2 (M.D. Fla. Dec.
   7, 2015) (32%). Allapattah Servs., Inc. v. Exxon Corp., 454 F. Supp. 2d 1185, 1210 (S.D. Fla.
   2006) (31.3%); Gutter v. E.I. Dupont De Nemours & Co., 95-2152-CIV-Gold (S.D. Fla. May 30,
   2003) (33.3%); Sands Point Partners, LP v. Pediatrix Med. Group, Inc., 2002 U.S. Dist. LEXIS
   25721 (S.D. Fla. 2002) (30%); In re CHS Elecs., Inc. Sec. Litig., 99-8186-CIV-Gold (S.D. Fla.
   2002) (30%); Ehrenreich v. Sensormatic Elecs. Corp., 95-6637-CIV-Zloch (S.D. Fla. 1998)
   (30%); Tapken v. Brown, 90-0691-CIV-Marcus (S.D. Fla. 1995) (33%); In re Friedman’s, Inc.
   Sec. Litig., 2009 WL 1456698 (N.D. Ga. May 22, 2009) (30%); Francisco v. Numismatic Guar.
   Corp. of Am., 2008 WL 649124 (S.D. Fla. 2008) (30%); Pinto v. Princess Cruise Lines, Ltd.,
   513 F. Supp. 2d 1334 (S.D. Fla. 2007) (30%); In re BellSouth Corp. Sec. Litig., Civil Action No.
   1:02-cv-2142-WSD (N.D. Ga. Apr. 9, 2007) (30%); In re Cryolife, Inc. Sec. Litig., Civil Action
   No. 1:02-cv-1868-BBM (N.D. Ga. Nov. 9, 2005) (30%); In re Profit Recovery Group Int’l, Inc.
   Sec. Litig., Civil Action No. 1:00-cv-1416-CC (N.D. Ga. May 26, 2005) (33.25%); In re Clarus
   Corp. Sec. Litig., Civil Action No. 1:00-CV-2841-CAP (N.D. Ga. Jan. 6, 2005) (33.25%); In re
   Pediatric Servs. of Am., Inc. Sec. Litig., Civil Action No. 1:99-CV-0670-RLV (N.D. Ga. Mar.
   15, 2002) (33.25%); Ressler v. Jacobson, 149 F.R.D. 651 (M.D. Fla. 1992) (30%).
   10
            See also RJR Nabisco, Inc. Sec. Litig., [1992 Transfer Binder] Fed. Sec. L. Rep. (CCH)
   ¶94, 268 (S.D.N.Y. 1992) (“[W]hat should govern [fee] awards is . . . what the market pays in
   similar cases.”); In re Public Serv. Co. of N.M., 1992 WL 278452, at *7 (S.D. Cal. July 28, 1992)
   (“If this were a non-representative litigation, the customary fee arrangement would be contingent,
   on a percentage basis, and in the range of 30% to 40% of the recovery.”); 1 COURT AWARDED
   ATTORNEY FEES, ¶2.06[3], at 2-88 (Matthew Bender 2010) (noting that, “when appropriate
   circumstances have been identified, a court may award a percentage significantly higher” than
   25%); 4 NEWBERG ON CLASS ACTIONS, §14:6, at 551 (4th ed. 2002) (“Empirical studies show that,


                                                      18
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 24 of 29 PageID 54080




                          e)      The Remaining Camden I Factors Also Favor Approving the
                                  Requested Fee

          The remaining Camden I factors further support granting the fee request. As demonstrated

   by the experience and acumen of Lead Counsel throughout this litigation, Lead Counsel are among

   the most highly regarded attorneys in their field. Jt. Decl., ¶74. Indeed, Lead Counsel have been

   recognized by their peers for their superlative work in litigating this case specifically. Id., ¶80.

   Had Lead Counsel not been so skilled in these matters, the Classes might not have received a

   similar result. Without adequate compensation and financial reward, cases such as this simply

   would not be pursued despite the widespread aggregate harm to consumers. As courts have held,

   “given the positive societal benefits to be gained from lawyers’ willingness to undertake difficult

   and risky, yet important, work like this, such decisions must be properly incentivized.” Checking

   Account Overdraft, 830 F. Supp. 2d at 1364.

          In sum, the record here justifies Lead Counsel’s fee request.

                  3.      The Expense Request Is Appropriate

          Lead Counsel also request reimbursement $752,117.10 in expenses. Jt. Decl., ¶83; see

   Mills v. Electric Auto-Lite Co., 396 U.S. 375, 391-92 (1970). This sum reflects the common

   litigation expenses that have been invoiced or paid from the litigation since final approval of the

   B&L and CVI Settlements.         These expenses are comprised of: (1) $500,208.37 in fees and

   expenses incurred for experts and their support staff; (2) $172,316.30 in data hosting fees; (3)

   $45,790.00 in mediator’s fees and expenses incurred for the services rendered by Hon. Layn

   Phillips and the staff at Phillips ADR; (4) $31,711.50 in trial consultant fees; (5) $553.20 in process




   regardless whether the percentage method or the lodestar method is used, fee awards in class
   actions average around one-third of the recovery.”).


                                                     19
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 25 of 29 PageID 54081




   server fees; and (6) $1,537.73 in printing fees.11      Id.   These out-of-pocket expenses were

   reasonably and necessarily incurred and paid in furtherance of the prosecution of this Action and

   are outside of those contemplated in Lead Counsel’s previous request for costs. Id.; ECF No.

   1137. “There is no doubt that an attorney who has created a common fund for the benefit of the

   class is entitled to reimbursement of . . . reasonable litigation expenses from that fund.” Ontiveros

   v. Zamora, 303 F.R.D. 356, 375 (E.D. Cal. 2014); see also Behrens, 118 F.R.D. at 549

   (“[P]laintiff’s counsel is entitled to be reimbursed from the class fund for the reasonable expenses

   incurred in this action.”). Courts in this Circuit have thus routinely approved payment of expenses

   from the common fund where they were reasonable and necessary for the litigation. See Columbus

   Drywall & Insulation, Inc. v. Masco Corp., No. 1:04-cv-3066, 2008 WL 11234103, at *6 (N.D.

   Ga. Mar. 4, 2008) (approving $2.4 million for reimbursement of litigation expenses); Swift v.

   BancorpSouth Bank, No. 1:10-cv-00090, 2016 WL 11529613, at *20 (N.D. Fla. July 15, 2016)

   (approving application for reimbursement of costs that “were necessarily incurred in furtherance

   of the litigation of the Action and the Settlement”); Ressler, 149 F.R.D. at 657 (approving

   requested expenses as reasonable and necessary); see also Mills v. Elec. Auto-Lite Co., 396 U.S.

   375, 391-92 (1970); In re Ikon Office Sols., Inc. Secs. Litig., 194 F.R.D. 166, 192 (E.D. Pa. 2000).

   IV.    FAIRNESS HEARING

          Lead Counsel request that the Court set a date and time for a Fairness Hearing regarding

   this Motion and the concurrently filed Motion for Final Approval. Lead Counsel and ABB’s

   counsel have conferred and are happy to make themselves available for a hearing, remote or in

   person, should state and federal COVID protocols allow, at the Court’s convenience any time



   11
          Lead Counsel are prepared to submit detailed invoices for in camera review should the
   Court believe it prudent.

                                                    20
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 26 of 29 PageID 54082




   during the week of May 10, 2021, consistent with the Court’s Preliminary Approval Order. ECF

   No. 1224. This will give any interested parties and/or objectors thirty (30) days to review

   Plaintiffs’ and Lead Counsel’s reply briefs in further support of this Motion and the Motion for

   Final Approval, to be filed on April 9, 2021.

   V.      CONCLUSION

           The Settlement with ABB, which secures $30,200,000 in cash compensation for the benefit

   of the Settlement Class, represents an excellent result, particularly given the obstacles confronted

   in this case. Lead Counsel’s application for attorneys’ fees and expenses is reasonable and

   consistent with governing law. The request more than satisfies the guidelines of Camden I in light

   of the results achieved, the significant litigation risks, the complexity of the factual and legal issues,

   and the time, effort, and skill required to litigate claims of this nature to a satisfactory conclusion.

           Accordingly, Plaintiffs and Lead Counsel respectfully request that the Court: (1) promptly

   set a date and time for the Fairness Hearing during the week of May 10, 2021 regarding this Motion

   and the concurrently filed Motion for Final Approval; and (2) award Lead Counsel the requested

   $9,315,960.97 in attorneys’ fees and $752,117.10 in incurred and anticipated expenses.

   Dated: February 26, 2021                                 Respectfully submitted,
      s/ Joseph P. Guglielmo                               John A. DeVault, III
     Joseph P. Guglielmo                                   Florida Bar No. 103979
     Thomas K. Boardman                                    BEDELL, DITTMAR, DEVAULT,
     SCOTT+SCOTT                                           PILLANS & COXE, P.A.
     ATTORNEYS AT LAW LLP                                  101 East Adams Street
     The Helmsley Building                                 Jacksonville, FL 32202
     230 Park Avenue, 17th Floor                           Telephone: (904) 353-0211
     New York, NY 10169                                    Facsimile: (904) 353-9307
     Telephone: (212) 223-6444                             jad@bedellfirm.com
     Facsimile: (212) 223-6334
     jguglielmo@scott-scott.com                            Plaintiffs’ Local Counsel
     tboardman@scott-scott.com




                                                      21
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 27 of 29 PageID 54083




     Christopher M. Burke                            Michael D. Hausfeld
     SCOTT+SCOTT                                     James J. Pizzirusso
     ATTORNEYS AT LAW LLP                            Nathaniel C. Giddings
     600 W. Broadway, Suite 3300                     HAUSFELD LLP
     San Diego, CA 92101                             888 16th Street NW, Suite 300
     Telephone: (619) 233-4565                       Washington, DC 20006
     Facsimile: (619) 233-0508                       Telephone: (202) 540-7200
     cburke@scott-scott.com                          Facsimile: (202) 540-7201
                                                     mhausfeld@hausfeld.com
     Co-Lead Class Counsel                           jpizzirusso@hausfeld.com
                                                     ngiddings@hausfeld.com
     Michael E. Lockamy
     Florida Bar No. 69626                           Michael P. Lehmann
     BEDELL, DITTMAR, DEVAULT,                       Bonny E. Sweeney
     PILLANS & COXE, P.A.                            Christopher L. Lebsock
     101 East Adams Street                           HAUSFELD LLP
     Jacksonville, FL 32202                          600 Montgomery Street, Suite 3200
     Telephone: (904) 353-0211                       San Francisco, CA 94111
     Facsimile: (904) 353-9307                       Telephone: (415) 633-1908
     mel@bedellfirm.com                              Facsimile: (415) 217-6813
                                                     mlehmann@hausfeld.com
     Robert C. Gilbert                               bsweeney@hausfeld.com
     Florida Bar No. 561861                          clebsock@hausfeld.com
     KOPELOWITZ OSTROW FERGUSON
     WEISELBERG GILBERT                              Co-Lead Class Counsel
     2800 Ponce de Leon Boulevard, Suite 1100
     Coral Gables, FL 33134                          George W. Sampson
     Telephone: (305) 384-7270                       SAMPSON DUNLAP LLP
     gilbert@kolawyers.com                           1001 4th Ave., Suite 3200
                                                     Seattle, WA 98154
     Plaintiffs’ Liaison Counsel                     Telephone: (206) 414-8340
                                                     george@sampsondunlap.com
     Eamon O’Kelly
     Benjamin Steinberg                              Plaintiffs’ Trial Counsel
     ROBINS KAPLAN LLP
     399 Park Avenue, Suite 3600                     Dennis Stewart
     New York, NY 10022                              HULETT HARPER STEWART LLP
     Telephone: (212) 980-7400                       225 Broadway, Suite 1350
     Facsimile: (212) 980-7499                       San Diego, CA 92101
     hsalzman@robinskaplan.com                       Telephone: (619) 338-1133
     eokelly@robinskaplan.com                        Facsimile: (619) 338-1139
     bsteinberg@robinskaplan.com                     dennis@hulettharper.com

     Co-Lead Class Counsel                           Plaintiffs’ Trial Counsel




                                                22
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 28 of 29 PageID 54084




     Steven C. Marks
     PODHURST ORSECK, P.A.
     One S.E. 3rd Avenue
     Miami, FL 33131
     Telephone: (305) 358-2800
     Facsimile: (305) 358-2382
     smarks@podhurst.com

     Plaintiffs’ Trial Counsel




                                        23
Case 3:15-md-02626-HES-JRK Document 1242 Filed 02/26/21 Page 29 of 29 PageID 54085




                                   CERTIFICATE OF SERVICE

          I hereby certify that on February 26, 2021, I caused the foregoing to be electronically filed

   with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

   to the email addresses denoted on the Electronic Mail Notice List.

   Dated: February 26, 2021
                                                 s/ Joseph P. Guglielmo
                                                Joseph P. Guglielmo




                                                   24
